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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
 PRESIDENT AND FELLOWS OF                         )
 HARVARD COLLEGE,                                 )
                        Plaintiff,                )
                                                  )
 v.                                               )
                                                  ) No. 1:25-cv-11048-ADB
 UNITED STATES DEPARMENT OF                       )
 HEALTH AND HUMAN SERVICES, et                    )
 al.,                                             )
                                                  )
                                  Defendants.     )
                                                  )

   UNOPPOSED MOTION FOR LEAVE TO FILE A BRIEF AMICUS CURIAE ON
 BEHALF OF THE AMERICAN COUNCIL ON EDUCATION AND OTHER HIGHER
                   EDUCATION ORGANIZATIONS

       Movant the American Council on Education (ACE) respectfully moves for leave of Court

to file an amicus brief in this matter, as directed by this Court’s order entered on April 29, 2025.

Dkt. 47. ACE seeks leave to file an amicus brief in support of Plaintiff’s motion for summary

judgment on behalf of itself and other organizations with an interest in higher-education policy.

       1. This case involves an unprecedented attempt by the Executive Branch to control a

university and punish that university for not ceding its autonomy to the Administration. The

issues at stake in this case go to the heart of the role of higher education in society and the

relationship of colleges and universities to the federal government.

       2. ACE is a membership organization that acts as the major coordinating body for the

nation’s colleges and universities, representing a diverse membership of nearly 1,600 colleges

and universities, related associations, and other organizations in America and abroad. ACE is

the only major higher education institution to represent all types of U.S. accredited, degree-
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granting colleges and universities. ACE regularly coordinates with other organizations

concerned with issues affecting higher education to file amicus briefs.

         3. On April 29, this Court adopted the parties’ joint proposal to proceed directly to cross-

motions on summary judgment. The Court ordered that any amicus briefs would be due by

June 9, 2025, and that “[p]ermission to file amicus briefs must be sought and obtained prior to

filing.” Dkt. 47. The Court further ordered that any amicus briefs “may not exceed 10 pages.”

Id.

         4. Pursuant to this Court’s order, ACE respectfully seeks leave to file an amicus brief

supporting Harvard on behalf of itself and other higher-education organizations. ACE

anticipates that its amicus brief will explain the chilling effect that the Administration’s unlawful

actions in this case will have on other institutions of higher education, describe the legal

foundations of the institutional autonomy that colleges and universities enjoy under the First

Amendment, and explain the concrete values that institutional autonomy has for society as a

whole.

         5. ACE is coordinating with other like-minded organizations who wish to convey a

similar message to the Court, in an effort to reduce the number of amicus briefs filed in this case.

Although the arguments and ideas presented in the proposed amicus brief will be solely those of

ACE and the other amici joining the brief, ACE has conferred with counsel for Harvard to

determine that its brief will be sufficiently distinct from any other amicus brief submitted in

support of Harvard in this case.

         6. ACE confirms that its proposed amicus brief will not exceed this Court’s 10-page

limit.




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       7. ACE has consulted with counsel for Defendants, who has indicated that Defendants do

not oppose this motion.

                                        CONCLUSION

       For the foregoing reasons, ACE respectfully requests leave to file an amicus brief in

support of Harvard’s motion for summary judgment on behalf of itself and other interested

organizations.


                                                    Respectfully submitted,

 Stephanie J. Gold*                                 /s/ Gregory F. Noonan
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), undersigned counsel hereby certifies that counsel for the

American Council on Education conferred with counsel for Defendants, who do not oppose this

motion.

                                                   /s/ Gregory F. Noonan
                                                   Gregory F. Noonan


                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically to

the registered participants as identified on the Notice of Electronic Filing (NEF) on June 4, 2025.


                                                   /s/ Gregory F. Noonan
                                                   Gregory F. Noonan
